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                                                                              IN CLERK'S OFFICE
                                                                        U.S. DISTRICT COURT E.D.N.Y.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                            *      NOV 14 2023        *
                                                                        LONG ISLAND OFFICE
----------------------------------------------------X
UNITED STATES OF AMERICA
                                                                      STANDARD PLEA FORM
-against-
                                                                        23   -CR-      327      (JS)
SAMUEL MIELE

                                 Defendant
------------------·----· ----------X
                   THE DEFENDANT IS OBLIGATED TO READ AND COMPLETE

                                 THE QUESTIONS AS SET FORTH BELOW.

            THE GOVERNMENT MUST FIRST ANSWER QUESTIONS 25, 26, 27 and 52

                    BEFORE THE DEFENDANT FILLS OUT THIS PLEA FORM.



TO THE DEFENDANT:

(I)     Before accepting your plea, there are a number of questions I must ask to assure that it is a valid

      -~ plea. If you do not understand any of my questions, please say so and I will reword the question.

(2)     The Courtroom Deputy will swear the defendant.

(3)     Do you understand that, having been sworn, your answers to my questions will be subject to the

        penalties of perjury or of making a false statement if you do not answer truthfully?

                YES     ✓ NO - -
(4)     What is your full name?

                 Samuel A. Miele

(5)     How old are you?

                            27




                                                        - I-
(6)     Are you a citizen of the United States? (Jfyou are NOT a citizen, answer questions 6A and 6B.)

               YES_LNo _ _

        (6A)   Have you discussed with your counsel whether your guilty plea will have any effect on

               your ability to remain in this country?

                       YES ___ NO _ __

        (68)   Are you satisfied that you understand the effect that a guilty plea in this case may have on

               your right to remain in this country after any sentence is served?

                       YES _ _ NO _ _

(7)     What is the highest schooling or education you have had?

        College degree (BA)

(8)     Are you presently or have you been recently under the care of a physician or psychiatrist?

               YES _ _ No_L

(9)     In the past 24 hours, have you taken any narcotic drugs, medicine or pills or drunk any alcoholic

        beverage?

               YES _ _ No_L

        Have you ever been hospitalized or treated for narcotic addiction?

               YES _ _ No_L

(l l)   Is your mind clear?

               YES_LNo _ _

(12)    Do you understand what is going on here during this proceeding?

               YES_LNo _ _

TO DEFENSE COUNSEL:

( 13)   Have you discussed this matter with your client?

               YES_LNo _ _


                                                   -2-
(14)    Does he/she understand the rights he/she would be waiving by pleading guilty?

                YEs_L_No _ _
(15)    Is he/she capable of understanding the nature of these proceedings?

               YEs_L_No _ _
(16)    Do you have any doubt as to the defendant's competency to plead at this time?

               YES _ _ No__/_
TO THE DEFENDANT:

(17)    You have a right to plead not guilty.

        Do you understand?

               YEs_L_No _ _

(18)    If you plead not guilty, under the constitution and laws of the United States, you are entitled to a

        speedy and public trial by jury with the assistance of counsel on the charges.

        Do you understand?

               YEsLNo _ _

( 19)   At the trial, you would be presumed to be innocent. The Government would have to overcome

        that presumption and prove you guilty by competent evidence and beyond a reasonable doubt.

        You would not have to prove that you are innocent. If the Government failed, the jury would

        have the duty to find you not guilty.

        Do you understand?

               YEs_L_No _ _

(20)    In the course of the trial, witnesses for the Government will have to come to court and testify in

        your presence and your counsel will have the right to cross-examine them and object to evidence

        offered by the Government and to offer evidence on your behalf.

        Do you understand?

               YEs_L_No _ _
                                                    - 3-
(21)   At the trial, while you would have the right to testify if you choose to do so, you will not be

       required to testify. Under the Constitution of the United States, you cannot be compelled to

       incriminate yourself. If you decided not to testify, the Court would instruct the jury that they

       could not hold that against you.

       Do you understand?

               YES-1---No _ _

(22)   If you plead guilty, and if I accept the plea, you will be giving up your constitutional rights to a

       trial and the other rights I have just discussed. There will be no further trial of any kind and no

       right to appeal, or collaterally attack, the question of whether you are guilty or not. A judgment

       of guilty will be entered based on your guilty plea and that judgment can never be challenged.

       However, you may have the right to appeal with respect to the sentence imposed.

       Do you understand?

               YES-1---No _ _

(23)   If you plead guilty, I will have to ask you questions about what you did to satisfy myself that you

       are guilty of the charge(s) to which you seek to plead guilty. You will have to answer my

       questions and acknowledge your guilt; thus, you will be giving up your right not to incriminate

       yourself.

       Do you understand?

              YES-1---No _ _

(24)   Are you willing to give up your right to a trial and the other rights I have just discussed?

              YES-1---No _ _




                                                    -4-
TO THE GOVERNMENT:

(25)   What agreement, if any, do you have concerning the plea and sentence?

       (Please print clearly and legibly.)

       The parties have agreed to the terms contained in a written Plea Agreement.

       No other promises, agreements, or conditions have been entered by the parties other than those
       set forth in the Plea Agreement.




(26)   List whether there is any waiver of appeal, or other waiver of rights included in the plea

       agreement: (Please print clearly and legibly.)
       I) his right to file 1111 appeal or otherwise challenge, by petition pursuant to 28 U.S.C. § 2255 or any other provision, his conviction or sentence in the
       event the Court imposes a tenn of imprisonment of 37 months or below (P.A. ,r 6)

       2) my defemes b:lsed on the statute of limitations and venue with respect to any prosecution that is not time-barred on the date that the Plea Agreement
       is signed in the event 1hat (a) his conviction is later vacated for any reason.. {b) he violates the Plea Agreement. or (c) bis plea is later withdrawn. {P.A. 1
       6)

       3) his right to raise on appeal or on collateral review any argument that (a) the statute to which he is pleading guilly is unconstitutional and {b) the
       admitted conduct does not fall within the scope of the statute. (P.A. 'V 6)

       4) his right to additional disclosure from the government in connection with 1he guilty plea (P.A. "J 6)

       S) all suuutory deadlines with respect to the Forfeiture Money Judgment, including but not limited to deadlines set forth in 18 U.S.C. §983. {P.A. 'V 9)

       6) his right to my required notice concerning the forfeiture of any monies and/or properties forfeited pursuant to the Plea Agreement, including notice
       set forth in an indicuncnt, infonnation or administrative notice and his right, if any, to a jury trial on the entry ofa forfeiture money judgment, and all
       constitutional. legal and equitable defenses to the forfeiture of said monies and/or properties. including. but not limited to. any defense based on
       principles of double jeopardy, the Ex Post Facto clause oflhe Constitution, any applicable statute oflimillltions. venue. or any defense under the Eighth
       Amendment. including a claim of excessive fmes. (P.A. "I 14)


(27)   List the elements of the crime charged in the (Superseding) Indictment/Information:

       (Please print clearly and legib(v.)
       First, that there was a scheme or artifice to defraud or to obtain money or property by
       materially false and fraudulent pretenses, representations or promises;

       Second, that the defendant knowingly and willfully participated in the scheme or artifice to
       defraud, with knowledge of its fraudulent nature and with specific intent to defraud, or that he
       knowingly and intentionally aided and abetted others in the scheme; and

       Third, that in execution of that scheme, the defendant used or caused the use of interstate
       wires, as specified in the indictment.

       2 Modem Federal Jwy Instructions--Criminal ,I 44.01, Instr. 44-3.



                                                                                -5-
TO THE DEFENDANT:

(28)   Are you aware of the elements of the crime which you are charged and which you are to plead

       guilty to?

               YES..L_No _ _

(29)   Have you discussed with your counsel the charge(s) and the (Superseding)

       Indictment/Information to which you intend to plead guilty?

              YES..L_No _ _

(30)   Do you understand the charge(s) in the (Superseding) Indictment/Information which you are

       pleading guilty to?

              YES..L_No _ _

(31)   Do you know the maximum sentence and any fines I might impose on each of the charges to

       which you are seeking to plead guilty to?

              YES..L_No _ _

(32)   The maximum possible penalty under count One is _ _ _2_0_ _ _ months/years

       imprisonment, plus a fine of$250,000 or twice the loss. (If there are more than one count to

       which the defendant intends to plea, please answer (32A and 32B), as needed.)

       (32A) The maximum possible penalty under count ___ 1s _ _ _ _ _ _ _ months/years

              imprisonment, plus a fine of$_ _ _ _ _ _ _ __

       (32B) The maximum possible penalty under count ___ 1s _ _ _ _ _ _ _ months/years

              imprisonment, plus a fine of$_ _ _ _ _ _ _ __

(33)   Do you realize that there is a $100 Special Assessment fine for each count?

       Corporate defendant(s) have a $400.00 Special Assessment fine for each count.

              YES ✓ NO _ _
(34)   Do you realize that the Court may order Restitution to be paid to any victims of the crime?

              YES..L_No _ _
                                                   -6-
(35)    Do you realize that if any time of imprisonment is imposed, a period of     three    years of

        Supervised Release must be imposed to follow?

                YES..L_No _ _

(36)    Have you discussed the Sentencing Guidelines with your attorney?

                YES_L_No _ _

(37)    Do you understand that the Sentencing Guidelines are not mandatory, but that in sentencing, the

        Court is required to consider the applicable guideline range along with the statutory factors listed

        in 18 U.S.C. § 3553(a), and that the Court will consider the nature and circumstances of the

        offence and your criminal history?

                YES_L_No _ _

(38)    I will now read the statutory factors listed in 18 U.S.C. § 3553(a):

                The court must impose a sentence sufficient, but not greater than necessary:

                       l a) to reflect the seriousness of the offense,

                         b) to promote respect for the law, and

                         c) to provide just punishment for the offense;

                       2) to afford deterrence as to other criminal conduct; and

                       3) to protect the public from further crimes by you.

       At sentencing, the Court must also consider your cooperation if the Government submits a

SKI.I letter.

(39)   Has your attorney explained these factors listed in 18 U.S.C. § 3553{a)?

                YES_L_No _ _

(40)   Do you realize that if the sentence is more severe than you expected, you will be bound by your

       guilty plea and will not be permitted to withdraw it?

                YES..L_No _ _


                                                    -7-
(41)   Do you have any questions you would like to ask me about the charge(s), your rights, or

       anything else relating to this matter?

              YES _ _ No_L_

(42)   Are you ready to plead?

              YES ✓ NO _ _
TO DEFENSE COUNSEL:

(43)   Do you know any legal reason why your client should not plead guilty?

              YES _ _ No_L_

TO THE DEFENDANT:

(44)   Are you satisfied with your legal representation up until this point?

              YES_L_No _ _

(45)   Do you believe your lawyer has done a good job?

              YES_L_No _ _

(46)   What is your plea?

              GUILTY _L_NOTGUILTY _ _

(47)   Are you making the plea of guilty voluntarily and of your own free will?

              YES_L_No _ _

(48)   Has anyone threatened or forced you to plead guilty?

              YES _ _ No_L_

(49)   Other than the agreement with the Government as stated on the record, has anyone made any

       promises that caused you to plead guilty?

              YES _ _ No_L_

(50)   Has anyone made any promise to you as to what your sentence will be?

              YES _ _ No_L_


                                                   -8-
(51)    Describe in your own words what you did in connection with the acts charged in count(s)

        _ _O_n_e_ _ of the (Superseding) Indictment/Information in which you are pleading

        guilty:(Please print clearly and legibly.)

       Between August and December of 2021, I pretended I was the Chief of Staff to the Speaker of
       the House of Representatives in some telephone calls and emails with potential donors,
       including an email on August 19, 2021, which used interstate wires. I did that to help me raise
       funds for the congressional campaign I was working on. I know that by doing this I
       committed a crime known as wire fraud.

       In addition, between November of2020 and January of this year, I caused approximately
       $100,000 to be charged to several donors' credit cards without their permission. I used some
       of those funds as donations to a candidate for Congress and some for my own expenses. I
       know that by doing this I committed a crime known as access device fraud.

       The congressional campaign and its accounts were in parts of New York that I understand are
       in the Eastern District of New York.




(52)    The Government will now outline their proof of the crime charged in the (Superseding)

        Indictment/Information: (Please print clearly and legibly.)

       The government respectfully refers to its statements on the record.




                                                     -9-
(53)   Based upon the information given to me, I find the defendant is acting voluntarily, fully

       understands his/her rights and the consequences of his/her plea and that there is a factual basis

       for the plea. I, therefore, accept the plea of guilty to count(s)_ _On_e_ _ of the (Superseding)

       Indictment/Information.




SIGNATURE:



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                                                     (Counsel)

Samuel Miele                                         Kevin H. Marino
(Defendant - Printed Name)                           (Counsel - Printed Name)

                                                     Address:

                                                     43 7 Southern Boulevard

                                                     Chatham, New Jersey 07928

                                                     Phone: (973) 824-9300




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                                                  - 10 -
